            Case 7:18-cv-01197-AEK Document 97 Filed 12/01/21 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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RICHARD HOFFER,

                                   Plaintiff,
                                                                         18 Civ. 1197 (AEK)
        -against-
                                                                         ORDER
POLICE OFFICER ELYSSA TELLONE, SHIELD
# 730387, POLICE OFFICER TREVOR GOFF,
SHIELD # 731915, POLICE OFFICER LAMONT BROWN,
SHIELD # 734149, and POLICE OFFICER DARCY
DRUMMOND, SHIELD # 731907,

                                    Defendants.
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THE HONORABLE ANDREW E. KRAUSE, U.S.M.J.

        On December 1, 2021, upon Plaintiff’s motion in open court, the Court found Vishal Rai

to be in contempt of court for his failure to appear and testify at trial in the above-captioned

matter in response to the subpoena served upon him. See ECF Nos. 94, 96. 1 A warrant for Mr.

Rai’s arrest will be issued. Mr. Rai is therefore subject to arrest at any time. If he appears at

Courtroom 520 in the U.S. Courthouse at 300 Quarropas Street, White Plains, New York at 9:30

a.m. on Thursday, December 2, 2021, or Friday, December 3, 2021, he will give his testimony

and resolve the matter. If he does not appear in court on Thursday or Friday, he will be subject

to such sanction or penalty as the Court deems appropriate.




        1
         On November 23, 2021, Mr. Rai was personally served with a trial subpoena and
witness fee, but he told the person who served the subpoena that “he had no intentions of
appearing and that he had already spoken to his lawyer and that he was not mandated to appear.”
ECF No. 96-1. Mr. Rai also refused to accept the money order for the witness fee. Id.
         Case 7:18-cv-01197-AEK Document 97 Filed 12/01/21 Page 2 of 2




       The U.S. Marshals Service shall serve a copy of this Order on Mr. Rai at the same time as

they execute the warrant for Mr. Rai’s arrest.

Dated: December 1, 2021
       White Plains, New York
                                                     SO ORDERED.


                                                     _________________________________
                                                     ANDREW E. KRAUSE
                                                     United States Magistrate Judge
                                                     Southern District of New York




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